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Schedule A-2                                                                                               W K Webster




                                                                                                             CIF Cargo Value
Category Container No.                            B/L                Cargo                                  (May Change)      Principal (including Insurers and their Agents) Insured                                    voyagefrom   voyageto
    1    ZMOU8872113                              320640311054       Medical Supplies                        $     243,873.00 FM GLOBAL                                       Becton Dickinson                           Baltimore    Shanghai
    1    MSMU7156244                              MEDUVD583401       SBS Bleached Board                      $      25,580.45 FM GLOBAL                                       WestRock                                   Norfolk      Shanghai
    1    SEGU2099993                              320640312675       Medical Supplies                        $      33,608.72 FM GLOBAL                                       Becton Dickinson                           Baltimore    Singapore
    1    MSMU2247260                              HCLE023000824148   Hazardous Cargo                         $      35,211.50 AXA XL,EXTON                                    Ecolab Inc.                                Norfolk      Manila North

    1     GCXU5738290                             MAEU237011709      Electrical Equipment & Material         $    121,071.85 Liva Insurance Company                          Evolving Constellation Company for Energy   Baltimore    Dammam

    1     MRSU5091798, TCKU7801656, TCNU3334096   MAEU237289935      Electrical Equipment & Material         $    374,306.30 Liva Insurance Company                          Evolving Constellation Company for Energy   Baltimore    Bahrain

    1     TRHU2980454                             CMHS02614750       Decoseal Grooved                        $     82,147.77 MARKEL,NEW YORK                                 Quanex Building Products Corporation        Norfolk      Dalian
    1     KSSU1004916, TCNU6470326                ZIMUTRT927691      Wet Salted Deerskins (39,055 Kgs)       $     92,750.00 Coast Underwriters Limited                      Sheffren's Hides & Skins Ltd                Norfolk      Sanshan
    1     RFCU8218611                             200803813          HiTEC 052 Bulk                          $     48,022.63 ZURICH NORTH AMERICA,JERSEY CITY                Afton Chemical Corporation                  Baltimore    Jurong Island
    1     SUTU2581707                             200803819          HiTEC 052 Bulk                          $     48,433.14 ZURICH NORTH AMERICA,JERSEY CITY                Afton Chemical Corporation                  Baltimore    Jurong Island
    1     CXTU1142194                             200803821          HiTEC 052 Bulk                          $     51,378.79 ZURICH NORTH AMERICA,JERSEY CITY                Afton Chemical Corporation                  Baltimore    Jurong Island
    1     SUTU2584389                             200803822          HiTEC 052 Bulk                          $     52,427.14 ZURICH NORTH AMERICA,JERSEY CITY                Afton Chemical Corporation                  Baltimore    Jurong Island
    1     SLZU2508773                             200810381          HiTEC 052 Bulk                          $     52,318.69 ZURICH NORTH AMERICA,JERSEY CITY                Afton Chemical Corporation                  Baltimore    Jurong Island
    1     SLZU2508201                             200810397          HiTEC 052 Bulk                          $     51,793.31 ZURICH NORTH AMERICA,JERSEY CITY                Afton Chemical Corporation                  Baltimore    Jurong Island
    1     MRKU8074533, MSKU7965058, SUDU7724007   2910002128         Refractory Materials                    $     33,801.00 ROYAL SUNDARAM,CHENNAI                          Vesuvius India Ltd                          Norfolk      Visakhapatnam
